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                                                                                    REGEIlf,ED
                                                                                          FEB   l2   2021
                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA                           ewk
                                                                                           H,sn"?tliliJd
UNITED STATES OF AMERICA                                    MAGISTRATE NO. 21-MJ-40


                                                            VIOLATIONS:
WILLIAM McCALL CALHOUN, JR., and
                                                            l8 U.S.C. $ ls12(c)(2), (k)
VERDEN ANDREW NALLEY,                                       (Obstruction of an OIficial
                                                            Proceeding)
                 Defendants.
                                                            l8 u.s.c.   $ 17s2(a)(1)-(2)
                                                            (Restricted Building or Grounds)

                                                            .10U.S.C. $ sl0a(e)(2)
                                                            (Violent Entry or Disorderly Conduct)

                                                            FILED UNDER SEAL



                                        INDICTMENT
       The Grand Jury charges that, at all times material to this Indictment, on or about the dates

stated below:

                                             COUNT ONE
                (18 U.S.C. $ 15f 2(c)(2),   (k)-Obstruction of an Official Proceeding)

       On or about January 6, 2021, in the District of Columbia and elsewhere, the defendants,

                            WILLIAM McCALL CALHOUN, JR.' and
                                VERDEN ANDREW NALLEY,

attempted to, and did, comrptly obstruct, influence, and impede an official proceeding, and did

conspire to do so; that is, CALHOTN and NALLEY forcibly entered and remained in the Capitol

to stop, delay, and hinder Congress's certification ofthe Electoral College vote'

                (ln violation of Title 18, United States Code. Section 1512(c)(2)' (k))
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                                          COUNT TWO
                (18 U.S.C. $ 1752(a)(l )-(2)-Restricted Building or Grounds)

       On or about January 6,2021, in the District of Columbia and elsewhere, the defendants,

                           WILLIAM McCALL CALHOUN, JR., and
                                 VERDEN ANDREW NALLEY,

did unlawfirlly and knowingly enter and remain in a restricted building and grounds, and did

knowingly, and with intent to impede and disrupt the orderly conduct of Govemment business and

official functions, engage in disorderly and disruptive conduct in and within such proximity to, a

restricted building and grounds; that is, CALHOLIN and NALLEY entered and remained in the

Capitol complex where the Vice President and Vice Presidenlelect were temporarily visiting,

without lawful authority to do so, and when and so that such conduct did in fact impede and disrupt

the orderly conduct of Govemment business and official functions.

              (ln violation of Title I 8, United States Code, Section 1 752(a)( I )-(2))



                                         COUNT THREE
               (40 U.S.C. $ 510a(e)(2|-Violent Entry or Disorderly Conduct)

       On or about Janury 6,2021, in the District of Columbia and elsewhere, the defendants,

                           WILLIAM McCALL CALHOUN, JR., and
                                 VERDEN ANDREW NALLEY,

did willfully and knowingly engage in disorderly and disruptive conduct in any ol the Capitol

Buildings with the intent to impede, disrupt, and disturb the orderly conduct of a session of

Congress and either House ol Congress.

                (In violation of Title 40, United States Code, Section 510a(eX2))




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                                         A TRUE BILL




                                            \r-**us.\*\N
                                         FOREPERSON




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             f -*"-'',lf
MICHAEL R. SHERWIN
ACTING ATTORNEY FOR THE I.NITED STATES
IN AND FOR THE DISTRICT OF COLUMBIA




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